     Case 17-64941-sms              Doc 88       Filed 04/12/22 Entered 04/14/22 15:36:01                         Desc Main
                                                Document      Page 1 of 11


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2    AUGUSTA, GA 30909
     40480902881
3    RCBURGESSGA@GMAIL.COM

4                                         UNITED STATES BANKRUPTCY COURT                          Filed in
                                                                                                           QS'
                                                                                                       ,,Atianta.
                                                                                                   ”7- Negina
 5                                         NORTHHERN DISTRICT OF GEORGIA                                          Georgia Co
                                                                                                                           CO
                                                                                                               Thorz4s, Cl
                                                                                                       APR -1'2
 6                                                   ATLANTA DIVISION                                              2022
 7   IN RE:                                                        Case No.: 17-64691-SMS
                                                                                                              Clerk
 8   ROGER CARROLL BUGRESS,

 9                     Debtor,                                     REPLY TO STATEMENT OF AUTHORITY
                                                                   FOLLOWING HEARING ON REDUCTION OF FEES
10

11

12                     COMES NOW ROGER C. BURGESS, Debtor Pro Se respectfully shows the Court the following

13   case law as to the argument presented at the time of the hearing held on 03/31/2022:

14                     1) At the hearing on the Trustees final report and the fee applications of professionals [DOC. 85,

15   85-1, 85-1 AND 85-3], counsel admitted d that under Section 326 of the bankruptcy Code that the COURT has the

16   authority to reduce fees if there are extraordinary circumstances. The statement holds to the argument of the Debtor

17   that this case is exceptional because the Trustee did little to no work on the case. Since the trustee's fee is

18   considered commission under the bankruptcy law, in cases such as this, where the commission is very large in

19   comparison to the work required, the court may award a fee less than the maximum allowed. Under section 330 the

20   compensation is fixed, however courts have reduced those fees when the workload preformed did not meet the term

21   "reasonable compensation". In re Scoggins, 517 B.R.206,214 (Bankr. E.D. Cal. 2014) , Courts have declined to

22   presume that Section 326(a) are reasonable, concluding that the Court has discretion to award reasonable

23   compensation only for actual and necessary services and may award a lower fee requested by the trustee.

24                     The trustee did not pursue and convert property for the surrender of the estate and only received

25   funds after the counsel for the tort case was diligent in their researching to see if the Debtor had filed bankruptcy

26   with in the last 7 years. Upon finding a Chapter 7 case was closed and discharge was granted the tort claim

27   administrator, Mathews and Associates, hereafter referred to as counsel of the Debtor on the tort claim contacted the

28   listed Trustee and commenced to establish a dialog as to the handling of the case. There where no extraordinary
     REPLY TO STATEMENT OF AUTHORITY FOLLOWING HEARING ON REDUCTION OF FEES -1
     Case 17-64941-sms              Doc 88       Filed 04/12/22 Entered 04/14/22 15:36:01                        Desc Main
                                                Document      Page 2 of 11


1    circumstances beyond the normal duties of the Chapter 7 Trustees daily day to day operations and the handling of

2    the case. The tort case was already adjudicated and the funds for the case were held in trust till the Court released

3    those funds. If the trustee had devoted time to 'research the case" as part of his duties, he would have seen that

4    there was a pending case in federal court titled Burgess v. Abb Vie INC. dated Nov. 30th, 2015. This shows that the

 5   trustee did not do his assigned duties.

6                      The trustee has duties to object to claims made if there was a chance of recovery of funds for the

 7   estate were found. In the special counselors awarded fees, there where liens associated with the tort claim. The

 8   trustee should have objected to those medical liens and fees associated with them that totaled the amount of

 9   $9,409.78 instead he asked the Court to release funds as filed with the Court.

10                     There were only 4 creditors who filed claims with the Trustee and 2 of those claims where past th

11   bar date. The Trustee did not only allow those claims, he did not object to the claims even after Mr. Burgess raised

12   valid objections and ask him to do object and reject those claims specifically numbers 3 Carlos Basto in the amount

13   of $1836.12 a case in the Magistrate Court of Dekalb County which was a landlord/tenant past due rent case that

14   was offset by a security deposit held by Mr. Basto in the amount of $750. Under OCGA 44-7-34 (a) Return of

15   security deposit therefore reducing the amount that he could claim. The Proof of claim filed was void of any

16   supporting documentation as required by Rule 3001, Proof of Claim ( c )(2)(a) and the Trustee should have objected

17   to the claim as part of his duties per 11 U.S.Code 704 (a) (5).

18   The claim number 4-1 Atlanta Diabetes and Associates in the amount of $577.75 , was filed after the bar date set by

19   the Court and there again was allowed by the trustee when it was his assigned duty to object to the claim.

20   Under section (d) titled Trustees objections i) Deadline to file proof of claim (1) The bankruptcy court has no

21   general equitable power to allow late proofs of claim, no matter how worthy the merits of the creditor's claim.

22   Matter of Greenig, 152f. 3d 631,635 (7th Cir.) 1998. Failure for the trustee to do his duty has cost the estate

23   $2413.87.

24                    The Trustee also states that he received and distributed funds for the case. In this case the funds

25   where disbursed by the tort claim administer and no checks were written by the Trustee to date.

26                     In the matter of the requested fees for the Accountant, The Trustee hired his firm and used 6.4

27   hours of billable time for work that was easily done under his normal duties. Under the Doc 85-3 (10) the trustee

28   states " The services of the Applicant during the Application Period" included "analysis of the bankruptcy estates
     REPLY TO STATEMENT OF AUTHORITY FOLLOWING HEARING ON REDUCTION OF FEES -2
     Case 17-64941-sms              Doc 88      Filed 04/12/22 Entered 04/14/22 15:36:01                        Desc Main
                                               Document      Page 3 of 11


1    transactions, research tort liability claim to determine taxability of settlement". A simple Google search would have

2    shown case law and IRC that shows the estate has no tax liability income.

3                      The accountant filed a tax package for an Estate that has NO taxable income and by IRS Code and

4    Publication 908 "For the tax year 2021, the requirements to file a return bankruptcy estate applies only ([the

5    gross income is at least $12,500." Under the section Bankruptcy Estate Income it defines income as" the gross

6    income of the debtor" as well as "income generated by the property of the estate after the commencement of the

7    case." Under the IRS code, tort claims are not taxable income and the Debtor did not have income to declare and n

8    forms needed to be prepared by the account when the trustee is a proficient in filing these uncomplicated forms and

9    any expense would have been covered under his fees requested, this simple preparation of the form would have bee

10   just a matter of entering $0.00 and filing it. The IRS Code Section (IRC)1398 of the Bankruptcy Tax Act of 1980,

11   states "the bankruptcy estate is a new, separate entity, which necessitates the filling of a return ifthe gross income

12   of the estate exceeds the statutory minimum." (Bahia. S.D.Tex 1988). The estate has no income since the tort claim

13   is specifically exempt from tax liability. (IRC Section 61, 104) SECTION 104 explains that gross income does not

14   include damages received on account of personal and physical injuries. The estate has no taxable income and does

15   not meet the threshold to file a tax return. See, generally, Richard Finkel, "Bankruptcy's Trustee's Guide to tax

16   Return Filing Requirements," 14 NABalk No/2 (1998) The accountant has no obligation to file the return, as

17   outlined by the IRC, except to increase the fees paid to the trustees owned companies. The Debtor stands by the

18   objection for a reduction in fees sought by the accounting firm, since the trustee could have done the return himself.

19                     I have attached a copy of written material "Case Law on Trustee Compensation Continues to

20   Evolve After BAPCPA" by Doreen Solomon, Assistant Director, Carrie Weinfeid, Trail Attorney Office of review

21   and Ovesight, for the Courts review.

22                     In re Moon 258 B.R. 828 (Bahia. N.D. Fla 2001) there is a summery issued by the District Court

23   that were filed and handled under the UST out of Atlanta. This caselaw would be an example of reduction based on

24   actual workload and not the Sec. 326 commission rate. It has a title of MEMORANDUM OPIONION ON

25   APPLICATION FOR CHAPTER 7 TRUSTEE COMPENSATION.

26                     In reply to the DOC 87 Paragraph 4. The Debtor was acting as Pro Se and used the listing to list

27   all information found on his current credit report which had several duplicate listing and therefore the claimed

28   discharge amount was closer to $17500. Since it was at the time of filing a no asset case, the trustee did not look at
     REPLY TO STATEMENT OF AUTHORITY FOLLOWING HEARING ON REDUCTION OF FEES -3
     Case 17-64941-sms              Doc 88       Filed 04/12/22 Entered 04/14/22 15:36:01                         Desc Main
                                                Document      Page 4 of 11


1    the schedules. I contend he only looked for property he could convert and in fact abounded all property that was

2    listed except for the tort claim. If he had worked the case, he would have seen this was the case and would have

3    advised his counsel of such facts. The Debtor was entitled to the listed exemption and those payouts are not subject

4    to creditors claims. Therefore the surplus of $8985.93 is the corrected amount of distribution. Asking for a rounded

5    figure of 84% of the amount that would be awarded to the debtor. That is more than the payout to creditors and 43%

6    of the Debtor's discharges based on the corrected amount of $17500 evaluation.

7

8                       Debtor submits caselaw that validates his request to lower the fees requested by the trustee from

9    the $7528.17 to the fair and just amount of $3500 for the amount of time and work spent on the case. This was the

10   amount stated at the hearing. The Debtor also ask the court to disallow the accountant fees requested since there was

11   no responsibility to file the estate tax form 1041 and the GA Forms respectively as well as this firm HFC is owned

12   by the trustee and the trustee has professional experience in the matter he hired his own firm to conduct on behalf of

13   the estate. This dual billing of fees are excessive and therefore can be removed by the Court section 330 (a)(1) and

14   (A). A trustee has a fiduciary duty to the estate and the creditors to maximize distribution of assets. Under the 726,

15   all surplus funds shall be returned to the debtor, thus making the debtor a party of interest in the application fees as

16   describe in the summary In re Moon 258 B.R. 828 (Bankr. N.D. Fla 2001). Thus the trustee owed fiduciary duties to

17   the debtor to reduce the cost of the Professional fees by doing the casework himself.

18

19

20                     Dated this 12th day of April 2022

21

22

23                                                                 Roger C, Burgess, Pro Se
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                       Augusta, GA 30909
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                       (404) 809-0288
27

28
     REPLY TO STATEMENT OF AUTHORITY FOLLOWING HEARING ON REDUCTION OF FEES -4
Case 17-64941-sms        Doc 88      Filed 04/12/22 Entered 04/14/22 15:36:01          Desc Main
                                    Document      Page 5 of 11


                             Case Law on Trustee Compensation
                             Continues to Evolve After BAPCPA

                                                by

                                 Doreen Solomon, Assistant Director
                                  Carrie Weinfeld, Trial Attorney
                                  Office of Review and Oversight

       Before the enactment of the Bankruptcy Abuse Prevention and Consumer Protection Act
of 2005 (BAPCPA), chapter 7 trustees were required to justify their requests for compensation
under 11 U.S.C. §§ 326 and 330(a)(3). Because the factors in section 330(a)(3) are similar to the
lodestar factors referenced in Johnson v. Georgia Highway Express, Inc., 488 F. 2d 714 (5th Cir.
1974), there was some debate about whether trustees' fees should be treated as straight
commissions or whether they should be approved under the lodestar analysis. BAPCPA made
two changes to section 330 that should have eliminated some of this uncertainty. Specifically,
Congress amended section 330(a)(3) to clarify that the factors used in that section to determine
"reasonable compensation" do not apply to chapter 7 trustees, and added section 330(a)(7),
which states the following: "In determining the amount of reasonable compensation to be
awarded to a trustee, the court shall treat such compensation as a commission, based on section
326." 11 U.S.C. § 330(a)(7) (emphasis added).

      According to section 326, the commission is the amount a court may allow as reasonable
compensation under section 330:

       for the trustee's services, ... not to exceed 25 percent on the
       first $5,000 or less, 10 percent on any amount in excess of $5,000
       but not in excess of $50,000, 5 percent on any amount in excess of
       $50,000 but not in excess of $1,000,000, and reasonable compensation
       not to exceed 3 percent of such moneys in excess of $1,000,000, upon
       all moneys disbursed or turned over in the case by the trustee to parties
       in interest, excluding the debtor, but including holders of secured claims.'

        When read together, Sections 330(a)(3), 330(a)(7) and 326 indicate that the calculation of
trustee compensation is based solely upon the percentages set forth in section 326. Nonetheless,
many courts continue to evaluate requests for compensation under the pre-BAPCPA standard.

       The Fall 2007 issue of NABTalk published the NABT's Amicus Brief in support of a
Florida trustee's request for compensation in In re Mack Properties, 381 F.R. 793 (Bankr.




       1   11 U.S.C. § 326(a).
Case 17-64941-sms           Doc 88      Filed 04/12/22 Entered 04/14/22 15:36:01            Desc Main
                                       Document      Page 6 of 11


M.D.Fla. 2007).2 In appropriate cases, including Mack Properties, U.S. Trustees have filed
briefs in support of the trustee's position. In its Brief, the NABT quoted the U.S. Trustee
Program's position on this issue:

       U.S. Trustees will take the position that, absent extraordinary
       factors, trustees should be compensated based upon the percentages
       set forth in section 326... . U.S. Trustees will not independently require
       trustees to maintain time records. U.S. Trustees will give full meaning
       to the Congressional intent that trustee compensation is a commission,
       and will interpose objections only in unusual circumstances.'

        The court in Mack Properties held that labeling the fee a "commission" does not
eliminate the requirement that the court review it for reasonableness under section 330(a)(1).4 It
then decided, without explanation, that of the $39,893.75 requested pursuant to the formula in
section 326, $15,000 would be awarded as reasonable.'

        Since the Mack Properties case, there have been five reported decisions in five different
judicial districts interpreting section 330(a)(7). A summary of each follows.

        In re McKinney, 383 B.R. 490 (Bankr. N.D. Cal. 2008) (McKinney II) — In McKinney I,
the court concluded that, while it could no longer apply the lodestar factors to chapter 7 trustees,
the term "commission" in section 330(a)(7) could not mean a pure percentage fee because that
section also applies to chapter 11 trustees, and under section 330(a)(3) the lodestar analysis still
applies to them. Therefore, the court held, calculating a trustee's commission "affirmatively
requires consideration of time spent in at least some instances."6 In McKinney II, the court
evaluated time records the trustee was directed to submit in McKinney I. The court held that
section 330(a)(7) creates a presumption that the maximum commission under section 326(a) is
reasonable, but the maximum could be reduced if a review of time records and all other relevant
facts and circumstances indicate that the amount is disproportionate to the value of a trustee's




        2   Robert C. Furr, "Brief of Amicus Curiae, National Association of Bankruptcy Trustee, in
Support of the Trustee's Application for Compensation and Expenses," NABTalk, Vol. 23, No. 3, Fall
2007.
        3
            See Id. at p. 13 (internal citation omitted).
        4
           Citing In re Mack Properties, Inc., 381 B.R. 793, 798 (Bankr. M.D. Fla. 2007) (quoting In re
Ward, 366 B.R 470, 473 (Bankr. W.D. Pa. 2007).

            In re Mack Properties, 381 B.R. at 799.
        6
            In re McKinney, 374 B.R. 726, 730 (Bankr. N.D. Cal. 2007).
                                                      -2-
Case 17-64941-sms             Doc 88    Filed 04/12/22 Entered 04/14/22 15:36:01              Desc Main
                                       Document      Page 7 of 11


services.' The trustee requested $35,891 based on net proceeds of $210,636 from the sale of the
debtor's house. The court awarded $15,000, after evaluating the following factors: functions
performed by the trustee, results achieved and quality of services performed, risk of nonpayment,
activity in the case by other professionals, and time expended and rates charged. These factors
are similar to the factors in section 330(a)(3), which the court conceded in McKinney I no longer
apply to chapter 7 trustees.

        In re Phillips, 392 B.R. 378 (Bankr. N.D. Ill. 2008) — The court in this case noted that, of
the twelve lodestar factors, six appear in section 330(a)(3). According to the court, these six
factors may no longer be applied to chapter 7 trustees, but the other six may be considered when
reviewing a chapter 7 trustee's request for compensation.' The court also rejected the trustee's
assertion that, in several post-BAPCPA cases, it was improper for the courts to have considered
some or all of the lodestar factors.9 The Phillips court opined:

       Under the present statutory scheme, it is difficult to definitively
       exercise the Court's discretion absent clear Congressional mandate. Thus,
       courts will be required to make such fee awards case by case and application
       by application until higher authority legislates a simpler or mandatory method-
       ology and relieves the bankruptcy courts of this task, or otherwise
       removes a court's discretion from the calculus."

        The court also held that the mandated maximum "commission" under section 330(a)(7)
should be awarded only where the trustee does truly excellent work. Otherwise, the court said,
trustees should be awarded some lesser amount for very good work, even less where the services
are merely average and lesser still for lower levels of performance." The court then assigned
"grades" to the third tier of the section 326(a) formula (5 percent of the next $950,000 of
amounts distributed). Had the trustee performed "A" or excellent work, he would have earned
$34,575.94 at this third tier, but he only performed "very good" work, and thus earned




        7
             McKinney II, 383 B.R. at 494.
        8
             In re Phillips, 392 B.R. at 385.
        9
            The earlier cases are discussed in the NABT's Amicus Brief, see supra note 2, and are: In re
Clemens, 349 B.R. 725 (Bankr. D. Utah 2006); In re Ward, 366 B.R. 470 (Bankr. W.D. Pa. 2007); Mack
Properties and McKinney L The Ward case is currently on appeal before the U.S. District Court for the
Western District of Pennsylvania, Roeder v. No Appellee, Civil Action No. 08-00071 SJM.
        10
             Phillips, 392 B.R. at 390.
        11
             Id. at 391-92.
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Case 17-64941-sms           Doc 88     Filed 04/12/22 Entered 04/14/22 15:36:01                 Desc Main
                                      Document      Page 8 of 11


$27,660.74.12



        In re Owens, 2008 WL 4224530 (Bankr. D. Or., Sep. 15, 2008) — The debtors in this case
filed their petition on October 12, 2005, less than one week before section 330(a)(7) took effect.
The court held that the new language in that section "does no more than clarify Congress's
understanding of section 326," and therefore, should be retroactively applied." It then decided to
take an "equitable approach" and reduced the trustee's commission to the extent necessary to
give unsecured creditors the amount they lost due to an unexpected secured claim.

        In re DeGroof, 2008 WL 4560088 (E.D.N.Y., Sept. 29, 2008) - The trustee filed a
fraudulent conveyance action against the debtor's former wife after the debtor transferred his
interest in real estate to her for $35,000. The adversary proceeding settled for $12,000. The
trustee sought a commission of 1,958 and his attorneys sought fees in the amount of
approximately $7,610. The United States Trustee filed a statement of no objection to both fee
applications. The bankruptcy court found it unacceptable that 80 percent of the recovery would
be paid to the trustee and his counsel as administrative expenses. It reduced the trustee's
commission to $1,000 and counsel's fees to $2,500. They appealed and argued that the court
could not reduce the commission or reasonable attorney fees under sections 330(a)(3)(C) in order
to ensure a more proportional distribution of assets.

        The district court disagreed. It found that amounts to be awarded under sections 326(a)
and 330 are entirely within the discretion of the bankruptcy court. As to section 330, the district
court concluded that a court may reduce fees based on a perceived disproportionality between the
fees and the amount available for distribution to creditors.' The district court did not mention
section 330(a)(7) in this case, but held that reducing the trustee's commission in this case was
proper because the trustee only attended the 341 meeting and issued four checks and, therefore,
did not earn the maximum permitted by section 326(a).

       In re RFS Ecusta, Inc., 2008 WL, 506287 (Bankr. W.D.N.C., Feb. 21, 2008) — The trustee
sought and was awarded $505,264 based on disbursements in excess of $16,000,000, in
accordance with the section 326(a) formula. The court held it would review the fee for


        12
              The court awarded the trustee the full commission amount in the first two tiers of section
326(a) (25 percent of the first $5,000 and 10 percent of the next $45,000), so that the trustee earned a
total of $33,410.74.
        13
             In re Owens, 2008 WL 4224530 at *2.
        14
             In re DeGroof, 2008 WL 4560088, at *4 (E.D.N.Y., Sept. 29,2008) (citing In re Stein, 2005
U.S. Dist. LEXIS 30278 (E.D.N.Y., March 25, 2005); In re Mennella, 2008 WL 222557 (E.D.N.Y., Jan.
24, 2008)).

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Case 17-64941-sms        Doc 88     Filed 04/12/22 Entered 04/14/22 15:36:01           Desc Main
                                   Document      Page 9 of 11



reasonableness because the case was filed pre-BAPCPA. It also concluded that, with the
enactment of section 330(a)(7), "Chapter 7 trustees are no longer subject to Section 330(a)(3),
which limits the determination of the amount of 'reasonable compensation to be awarded' based
upon 'relevant factors' to 'an examiner, trustee under chapter 11 , or professional person."

       As evidenced in the summaries above, many courts continue to apply some form of
lodestar analysis to requests for chapter 7 trustee compensation. Despite this trend, Program
attorneys will continue to file briefs in support of our statutory interpretation that trustee
compensation should be treated "as a commission." We welcome your thoughts on this issue,
and we urge you to contact us if you have a trustee compensation issue before the court.
Case 17-64941-sms            Doc 88     Filed 04/12/22 Entered 04/14/22 15:36:01                    Desc Main
                                       Document     Page 10 of 11



                                         CERTIFICATE OF SERVICE

This is to certify that I, Roger C. Burgess, am over the age of 18, and that on this date I caused to be served
true and correct copies of the forgoing REPLY TO STATEMENT OF AUTHORITY FOLLOWING A HEARING
ON REDUCTION OF FEES by first class United States mail to the following persons or entities at the address
stated:

OFFICE of the United States Trustee
362 US Courthouse
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

S. Gregory Hays
HFC, LLC.
2964 Peachtree Road, N.W. Suite 555
Atlanta, GA 30305

ARNALL GOLDEN GREGORY LLP
Michael J. Bargar
171 17th Street, N.W., Suite 2100
Atlanta, GA 30363


Dated: April 12th, 2022
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